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 9
                           UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11
12     Scott Johnson,                            Case No.

13               Plaintiff,
                                                 Complaint For Damages And
14       v.                                      Injunctive Relief For Violations
                                                 Of: American’s With Disabilities
15     Resura F. Dobbs, in individual and        Act; Unruh Civil Rights Act
       representative capacity as trustee;
16     Full House Equipment Rentals, a
       California Corporation; and Does 1-
17     10,
18               Defendants.

19
20         Plaintiff Scott Johnson complains of Resura F. Dobbs, in individual and

21   representative capacity as trustee; Full House Equipment Rentals, a California
22   Corporation; and Does 1-10 (“Defendants”), and alleges as follows:

23
24     PARTIES:

25     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

26   level C-5 quadriplegic. He cannot walk and also has significant manual

27   dexterity impairments. He uses a wheelchair for mobility and has a specially

28   equipped van.


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 1     2. Defendant Resura F. Dobbs, in individual and representative capacity
 2   as trustee, owned the real property located at or about 82 Fifth Avenue,
 3   Redwood City, California, in June 2018.
 4     3. Defendant Resura F. Dobbs, in individual and representative capacity
 5   as trustee, owned the real property located at or about 82 Fifth Avenue,
 6   Redwood City, California, in March 2019.
 7     4. Defendant Resura F. Dobbs, in individual and representative capacity
 8   as trustee, owned the real property located at or about 82 Fifth Avenue,
 9   Redwood City, California, in April 2019.
10     5. Defendant Resura F. Dobbs, in individual and representative capacity
11   as trustee, owns the real property located at or about 82 Fifth Avenue,
12   Redwood City, California, currently.
13     6. Defendant Full House Equipment Rentals, a California Corporation,
14   owned AAA Rentals located at or about 82 Fifth Avenue, Redwood City,
15   California, in June 2018.
16     7. Defendant Full House Equipment Rentals, a California Corporation,
17   owned AAA Rentals located at or about 82 Fifth Avenue, Redwood City,
18   California, in March 2019.
19     8. Defendant Full House Equipment Rentals, a California Corporation,
20   owned AAA Rentals located at or about 82 Fifth Avenue, Redwood City,
21   California, in April 2019.
22     9. Defendant Full House Equipment Rentals, a California Corporation,
23   owns AAA Rentals located at or about 82 Fifth Avenue, Redwood City,
24   California, currently.
25     10. Plaintiff does not know the true names of Defendants, their business
26   capacities, their ownership connection to the property and business, or their
27   relative responsibilities in causing the access violations herein complained of,
28   and alleges a joint venture and common enterprise by all such Defendants.


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 1   Plaintiff is informed and believes that each of the Defendants herein,
 2   including Does 1 through 10, inclusive, is responsible in some capacity for the
 3   events herein alleged, or is a necessary party for obtaining appropriate relief.
 4   Plaintiff will seek leave to amend when the true names, capacities,
 5   connections, and responsibilities of the Defendants and Does 1 through 10,
 6   inclusive, are ascertained.
 7
 8     JURISDICTION & VENUE:
 9     11. The Court has subject matter jurisdiction over the action pursuant to 28
10   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
11   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
12     12. Pursuant to supplemental jurisdiction, an attendant and related cause
13   of action, arising from the same nucleus of operative facts and arising out of
14   the same transactions, is also brought under California’s Unruh Civil Rights
15   Act, which act expressly incorporates the Americans with Disabilities Act.
16     13. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
17   founded on the fact that the real property which is the subject of this action is
18   located in this district and that Plaintiff's cause of action arose in this district.
19
20     FACTUAL ALLEGATIONS:
21     14. Plaintiff went to AAA Rentals in June 2018 (twice), March 2019 and
22   April 2019 with the intention to avail himself of its services, motivated in part
23   to determine if the defendants comply with the disability access laws.
24     15. AAA Rentals is a facility open to the public, a place of public
25   accommodation, and a business establishment.
26     16. Parking spaces are one of the facilities, privileges, and advantages
27   offered by Defendants to patrons of AAA Rentals.
28     17. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed


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 1   to provide accessible parking.
 2     18. Currently, the defendants fail to provide accessible parking.
 3     19. AAA Rentals has a sales counter where it handles its transactions with
 4   customers.
 5     20. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
 6   to provide an accessible sales counter.
 7     21. Currently, the defendants fail to provide an accessible sales counter.
 8     22. Entrance into AAA Rentals is another one of the facilities, privileges,
 9   and advantages offered by Defendants to patrons of AAA Rentals.
10     23. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
11   to provide an accessible entrance.
12     24. Currently, the defendants fail to provide an accessible entrance.
13     25. Plaintiff personally encountered these barriers.
14     26. By failing to provide accessible facilities, the defendants denied the
15   plaintiff full and equal access.
16     27. The failure to provide accessible facilities created difficulty and
17   discomfort for the Plaintiff.
18     28. The defendants have failed to maintain in working and useable
19   conditions those features required to provide ready access to persons with
20   disabilities.
21     29. The barriers identified above are easily removed without much
22   difficulty or expense. They are the types of barriers identified by the
23   Department of Justice as presumably readily achievable to remove and, in fact,
24   these barriers are readily achievable to remove. Moreover, there are numerous
25   alternative accommodations that could be made to provide a greater level of
26   access if complete removal were not achievable.
27     30. Plaintiff will return to AAA Rentals to avail himself of its services and to
28   determine compliance with the disability access laws once it is represented to


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 1   him that AAA Rentals and its facilities are accessible. Plaintiff is currently
 2   deterred from doing so because of his knowledge of the existing barriers and
 3   his uncertainty about the existence of yet other barriers on the site. If the
 4   barriers are not removed, the plaintiff will face unlawful and discriminatory
 5   barriers again.
 6     31. Given the obvious and blatant nature of the barriers and violations
 7   alleged herein, the plaintiff alleges, on information and belief, that there are
 8   other violations and barriers on the site that relate to his disability. Plaintiff will
 9   amend the complaint, to provide proper notice regarding the scope of this
10   lawsuit, once he conducts a site inspection. However, please be on notice that
11   the plaintiff seeks to have all barriers related to his disability remedied. See
12   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
13   encounters one barrier at a site, he can sue to have all barriers that relate to his
14   disability removed regardless of whether he personally encountered them).
15
16   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
17   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
18   Defendants.) (42 U.S.C. section 12101, et seq.)
19     32. Plaintiff re-pleads and incorporates by reference, as if fully set forth
20   again herein, the allegations contained in all prior paragraphs of this
21   complaint.
22     33. Under the ADA, it is an act of discrimination to fail to ensure that the
23   privileges, advantages, accommodations, facilities, goods and services of any
24   place of public accommodation is offered on a full and equal basis by anyone
25   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
26   § 12182(a). Discrimination is defined, inter alia, as follows:
27             a. A failure to make reasonable modifications in policies, practices,
28                or procedures, when such modifications are necessary to afford


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 1               goods,    services,    facilities,   privileges,   advantages,     or
 2               accommodations to individuals with disabilities, unless the
 3               accommodation would work a fundamental alteration of those
 4               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5            b. A failure to remove architectural barriers where such removal is
 6               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 7               defined by reference to the ADA Standards.
 8            c. A failure to make alterations in such a manner that, to the
 9               maximum extent feasible, the altered portions of the facility are
10               readily accessible to and usable by individuals with disabilities,
11               including individuals who use wheelchairs or to ensure that, to the
12               maximum extent feasible, the path of travel to the altered area and
13               the bathrooms, telephones, and drinking fountains serving the
14               altered area, are readily accessible to and usable by individuals
15               with disabilities. 42 U.S.C. § 12183(a)(2).
16     34. When a business provides parking for its customers, it must provide
17   accessible parking.
18     35. Here, the failure to provide accessible parking is a violation of the law.
19     36. When a business provides facilities such as a sales or transaction
20   counter, it must provide an accessible sales or transaction counter.
21     37. Here, the failure to provide accessible sales counters is a violation of the
22   ADA.
23     38. When a business provides an entrance, it must provide an accessible
24   entrance.
25     39. Here, the failure to provide an accessible entrance is a violation of the
26   law.
27     40. The Safe Harbor provisions of the 2010 Standards are not applicable
28   here because the conditions challenged in this lawsuit do not comply with the


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 1   1991 Standards.
 2      41. A public accommodation must maintain in operable working condition
 3   those features of its facilities and equipment that are required to be readily
 4   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5      42. Here, the failure to ensure that the accessible facilities were available
 6   and ready to be used by the plaintiff is a violation of the law.
 7
 8   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 9   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10   Code § 51-53.)
11      43. Plaintiff repleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14   that persons with disabilities are entitled to full and equal accommodations,
15   advantages, facilities, privileges, or services in all business establishment of
16   every kind whatsoever within the jurisdiction of the State of California. Cal.
17   Civ. Code §51(b).
18      44. The Unruh Act provides that a violation of the ADA is a violation of the
19   Unruh Act. Cal. Civ. Code, § 51(f).
20      45. Defendants’ acts and omissions, as herein alleged, have violated the
21   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
22   rights to full and equal use of the accommodations, advantages, facilities,
23   privileges, or services offered.
24      46. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25   discomfort or embarrassment for the plaintiff, the defendants are also each
26   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
27   (c).)
28      47. Although the plaintiff was markedly frustrated by facing discriminatory


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 1   barriers, even manifesting itself with minor and fleeting physical symptoms,
 2   the plaintiff does not value this very modest physical personal injury greater
 3   than the amount of the statutory damages.
 4
 5          PRAYER:
 6          Wherefore, Plaintiff prays that this Court award damages and provide
 7   relief as follows:
 8       1. For injunctive relief, compelling Defendants to comply with the
 9   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
10   plaintiff is not invoking section 55 of the California Civil Code and is not
11   seeking injunctive relief under the Disabled Persons Act at all.
12       2. Damages under the Unruh Civil Rights Act, which provides for actual
13   damages and a statutory minimum of $4,000 for each offense.
14       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
15   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
16
17   Dated: June 15, 2019             CENTER FOR DISABILITY ACCESS
18
                                      By:
19
20                                    ____________________________________

21                                           Amanda Seabock, Esq.
                                             Attorney for plaintiff
22
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